Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 1 of 23            FILED
                                                                  2018 Sep-10 PM 02:55
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




            EXHIBIT “A”
        (State Court Pleadings)
                                                         DOCUMENT 1
                                                                                                            ELECTRONICALLY FILED
                    Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 2 of 23 6:19 PM
                                                                              8/3/2018
                                                                                                                01-CV-2018-903069.00
State of Alabama                                                                             Case Number: CIRCUIT COURT OF
                                            COVER SHEET                                                JEFFERSON COUNTY, ALABAMA
Unified Judicial System
                                      CIRCUIT COURT - CIVIL CASE                             01-CV-2018-903069.00
                                                                                                   ANNE-MARIE ADAMS, CLERK
                                        (Not For Domestic Relations Cases)                   Date of Filing:            Judge Code:
Form ARCiv-93      Rev.5/99
                                                                                             08/03/2018

                                                GENERAL INFORMATION
                           IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                   CHERYL JOHNSON v. NORTH HILL NURSING AND REHABILITATION CENTER, LLC

First Plaintiff:       Business         Individual             First Defendant:         Business                Individual
                       Government       Other                                           Government              Other

NATURE OF SUIT: Select primary cause of action, by checking box (check only one) that best characterizes your action:

TORTS: PERSONAL INJURY                                OTHER CIVIL FILINGS (cont'd)
     WDEA - Wrongful Death                                   MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
     TONG - Negligence: General                                     Enforcement of Agency Subpoena/Petition to Preserve

     TOMV - Negligence: Motor Vehicle                        CVRT - Civil Rights
     TOWA - Wantonness                                       COND - Condemnation/Eminent Domain/Right-of-Way
     TOPL - Product Liability/AEMLD                          CTMP - Contempt of Court
     TOMM - Malpractice-Medical                              CONT - Contract/Ejectment/Writ of Seizure
     TOLM - Malpractice-Legal                                TOCN - Conversion
     TOOM - Malpractice-Other                                EQND - Equity Non-Damages Actions/Declaratory Judgment/
     TBFM - Fraud/Bad Faith/Misrepresentation                       Injunction Election Contest/Quiet Title/Sale For Division

     TOXX - Other:                                           CVUD - Eviction Appeal/Unlawful Detainer
                                                             FORJ - Foreign Judgment
TORTS: PERSONAL INJURY                                       FORF - Fruits of Crime Forfeiture
     TOPE - Personal Property                                MSHC - Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
     TORE - Real Properly                                    PFAB - Protection From Abuse
                                                             FELA - Railroad/Seaman (FELA)
OTHER CIVIL FILINGS
                                                             RPRO - Real Property
     ABAN - Abandoned Automobile
                                                             WTEG - Will/Trust/Estate/Guardianship/Conservatorship
     ACCT - Account & Nonmortgage
                                                             COMP - Workers’ Compensation
     APAA - Administrative Agency Appeal
                                                             CVXX - Miscellaneous Circuit Civil Case
     ADPA - Administrative Procedure Act
     ANPS - Adults in Need of Protective Services

ORIGIN:      F       INITIAL FILING                     A       APPEAL FROM                               O       OTHER
                                                                DISTRICT COURT

             R       REMANDED                           T       TRANSFERRED FROM
                                                                OTHER CIRCUIT COURT

                                                                     Note: Checking "Yes" does not constitute a demand for a
HAS JURY TRIAL BEEN DEMANDED?                   YES     NO           jury trial. (See Rules 38 and 39, Ala.R.Civ.P, for procedure)


RELIEF REQUESTED:                     MONETARY AWARD REQUESTED                      NO MONETARY AWARD REQUESTED

ATTORNEY CODE:
        LEW033                                   8/3/2018 6:19:04 PM                                   /s/ JON ETHAN LEWIS
                                            Date                                              Signature of Attorney/Party filing this form



MEDIATION REQUESTED:                            YES    NO      UNDECIDED
                                      DOCUMENT 2
                                                                      ELECTRONICALLY FILED
        Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 3 of 23 6:19 PM
                                                                  8/3/2018
                                                                        01-CV-2018-903069.00
                                                                        CIRCUIT COURT OF
                                                                   JEFFERSON COUNTY, ALABAMA
                                                                    ANNE-MARIE ADAMS, CLERK
             IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

CHIQUETTA PEEPLES, attorney in fact               )
for CHERYL JOHNSON, an individual,                )
                                                  )
Plaintiff,                                        )
                                                  )
vs.                                               ) CIVIL ACTION NO.:_______________
                                                  )
NORTH HILL NURSING AND                            )
REHABILITATION CENTER, LLC, an                    )
Alabama Limited Liability Company;                )
A, B, and/or C, whether singular or plural, are   )
those entities, persons, firms, corporations or   )
partnerships who employed the nursing staff       )
at North Hill Nursing and Rehabilitation          )
Center during the time made the basis of this     )
lawsuit; Fictitious Defendants D, E, and/or F,    )
whether singular or plural, are those entities,   )
persons, firms, corporations, partnerships who    )
negligently and/or wantonly failed to properly    )
train, supervise and monitor the performance      )
of, evaluate, and/or discipline the nursing       )
personnel employed at North Hill Nursing and      )
Rehabilitation Center prior to and during the     )
time made the basis of this lawsuit; Fictitious   )
Defendants G, H, and/or I, whether singular       )
or plural, are those entities, persons, firms,    )
corporations or partnerships who were doing       )
business as, owned, operated and/or managed       )
North Hill Nursing and Rehabilitation Center      )
During the time made the basis of this lawsuit;   )
Fictitious Defendants J, K, and/or L, are those   )
entities, persons, firms, corporations or         )
partnerships who negligently and/or wantonly      )
failed to provide all necessary pharmacy,         )
medical and/or nursing care to Cheryl Johnson     )
at North Hill Nursing and Rehabilitation          )
Center during the time made the basis of this     )
lawsuit; Fictitious Defendants M, N, and/or O,    )
whether singular or plural, are those entities,   )
persons, firms, corporations or partnerships      )
who negligently and/or wantonly breached the      )
standard of care owed to Cheryl Johnson           )
during the time made the basis of this lawsuit;   )
Fictitious Defendants P, Q, and/or R, whether     )
                                          DOCUMENT 2
       Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 4 of 23



singular or plural, are those entities, persons, )
firms, corporations or partnerships responsible )
for the negligence and/or wantonness              )
complained of herein or who in any way            )
contributed to the injuries sustained by Cheryl )
Johnson; Fictitious Defendants S, T, and/or U, )
whether singular or plural, are those entities, )
persons, firms, corporations or partnerships      )
who succeeded, bought, or controlled any          )
named Defendant herein, or who has assumed )
the liabilities of same; Fictitious Defendants    )
V, W, and/or X, being that entity or those        )
entities doing business as Grandview Medical )
Center; Y, Z, and/or AA, being that entity or )
those entities doing business as Amedisys         )
Hospice, LLC; BB, CC, and/or DD being             )
that entity or those entities doing business as   )
University of Alabama at Birmingham Hospital )
or University of Alabama Health Services          )
Foundation; EE, FF, and/or GG, being the          )
physician known as Oludayo Dawada, M.D.;          )
HH, II, and/or JJ, being the physician known )
as Serita Newton, M.D.; KK, LL, and/or MM, )
being those physicians who treated Cheryl         )
Johnson at North Hill Nursing and                 )
Rehabilitation Center, LLC, Grandview             )
Medical Center, or UAB. Said fictitious parties )
are either unknown to Plaintiff at this time, or )
if they are known, their identity as proper party )
Defendants is not known, and they will be         )
substituted by amendment when ascertained. )
                                                  )
Defendants.                                       )
                                                  )


                                         COMPLAINT

       Plaintiff complains of Defendants as follows:

                                     Statement of the Parties

       1.      Plaintiff Chiquetta Peeples is the attorney in fact for Cheryl Johnson (hereinafter

the “Plaintiff” or “Mrs. Johnson”), and she is over the age of 19 years and a resident of the State
                                             DOCUMENT 2
         Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 5 of 23



 of Alabama.

         2.      Defendant North Hill Nursing and Rehabilitation Center, LLC (hereinafter the

 “Defendant” or “NHNRC”) is an Alabama limited liability company that owned, operated and/or

 managed North Hill Nursing and Rehabilitation Center at all times material to Plaintiff’s

 complaint. Defendant NHNRC hired, trained and/or supervised employees of North Hill Nursing

 and Rehabilitation Center at all times material to Plaintiff’s complaint.

        3.       Defendant Amedisys Hospice, LLC (hereinafter the “Defendant” or “Amedisys”) is

a foreign limited liability company at all times material to Plaintiff’s Complaint. Defendant

Amedisys hired, trained and/or supervised employees who treated Plaintiff at all times material to

Plaintiff’s complaint.

        4.       Fictitious Defendants A, B, and/or C, whether singular or plural, are those entities,

persons, firms, corporations or partnerships who employed the nursing staff at North Hill Nursing

and Rehabilitation Center during the time made the basis of this lawsuit. The identification of these

defendants is unavailable to the Plaintiff, and cannot be determined with reasonable certainty, as the

documentation relating to the ownership and operation of the nursing facility in question is in the

exclusive control of the named Defendants.

         5.      Fictitious Defendants D, E, and/or F, whether singular or plural, are those entities,

 persons, firms, corporations, or partnerships who negligently and/or wantonly failed to properly

 train, supervise and monitor the performance of, evaluate, and/or discipline the nursing personnel

 employed at North Hill Nursing and Rehabilitation Center prior to and during the time made the

 basis of this lawsuit. The identification of these defendants is unavailable to the Plaintiff, and

 cannot be determined with reasonable certainty, as the documentation relating to the ownership

 and operation of the nursing facility in question is in the exclusive control of the named Defendants.
                                              DOCUMENT 2
        Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 6 of 23



         6.      Fictitious Defendants G, H, and/or I, whether singular or plural, are those entities,

persons, firms, corporations or partnerships who owned, operated and/or managed North Hill

Nursing and Rehabilitation Center during the time made the basis of this lawsuit. The identification

of these defendants is unavailable to the Plaintiff, and cannot be determined with reasonable

certainty, as the documentation relating to the ownership and operation of the nursing facility in

question is in the exclusive control of the named Defendants.

         7.      Fictitious Defendants J, K, and/or L, whether singular or plural, are those entities,

persons, firms, corporations or partnerships who negligently and/or wantonly failed to provide all

necessary medical, pharmacy and/or nursing care to Cheryl Johnson at North Hill Nursing and Rehabilitation

Center during the time made the basis of this lawsuit. The identification of these defendants is unavailable

to the Plaintiff, and cannot be determined with reasonable certainty, as the names and identifying

information of those who provided nursing care to Cheryl Johnson is in the exclusive control of the named

Defendants.

        8.       Fictitious Defendants M, N, and/or O, whether singular or plural, are those entities,

persons, firms, corporations or partnerships who negligently and/or wantonly breached the standard

of care owed to Cheryl Johnson during the time made the basis of this lawsuit. The identification

of these defendants is unavailable to the Plaintiff, and cannot be determined with reasonable

certainty, as the documentation relating to the ownership and operation of the nursing facility and

hospital in question is in the exclusive control of the named Defendants.

        9.       Fictitious Defendants P, Q, and/or R, whether singular or plural, are those entities,

persons, firms, corporations or partnerships responsible for the negligence and/or wantonness

complained of herein or who in any way contributed to the injuries sustained by Cheryl Johnson.

The identification of these defendants is unavailable to the Plaintiff, and cannot be determined with

reasonable certainty, as formal discovery regarding the identity of the persons responsible for
                                            DOCUMENT 2
         Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 7 of 23



 Cheryl Johnson’s care is needed to identify said defendants.

       10.       Fictitious Defendants S, T, and/or U, whether singular or plural, are those entities,

persons, firms, corporations or partnerships who succeeded, bought, or controlled any Defendant

herein, or who has assumed the liabilities of same. The identification of these defendants is

unavailable to the Plaintiff, and cannot be determined with reasonable certainty, as the

documentation relating to the ownership and operation of the nursing facility and hospital in

question is in the exclusive control of the named Defendants.

       11.       Fictitious Defendants V, W, and/or X, whether singular or plural, are those entities,

persons, firms, corporations or partnerships doing business as Grandview Medical Center. The

identity of these defendants as proper parties is unknown to the Plaintiff at this time, and cannot be

determined with reasonable certainty until further discovery is conducted.

       12.       Fictitious Defendants Y, Z, and/or AA, whether singular or plural, are those entities,

persons, firms, corporations or partnerships doing business as Amedisys Hospice LLC. The

identification of these defendants is unavailable to the Plaintiff, and cannot be determined with

reasonable certainty, as the documentation relating to the ownership and operation of the company

in question is in the exclusive control of the named Defendants.

       13.       Fictitious Defendants BB, CC, and/or DD, whether singular or plural, are those

entities, persons, firms, corporations or partnerships doing business as University of Alabama at

Birmingham Hospital or University of Alabama Health Services Foundation. The identity of these

defendants as proper parties is unknown to the Plaintiff at this time, and cannot be determined with

reasonable certainty until further discovery is conducted.

       14.       Fictitious Defendants EE, FF, and/or GG, being that physician known as Oludayo

Dawada, M.D.. The identity of this Defendant as a proper party is unknown to the Plaintiff at this
                                            DOCUMENT 2
         Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 8 of 23



time, and cannot be determined with reasonable certainty until further discovery is conducted.

       15.       Fictitious Defendants EE, FF, and/or GG, being that physician known as Serita

Newton, M.D.. The identity of this Defendant as a proper party is unknown to the Plaintiff at this

time, and cannot be determined with reasonable certainty until further discovery is conducted.

       16.       Fictitious Defendants KK, LL, and/or MM, being those physicians and nurses who

treated Plaintiff Cheryl Johnson at North Hill Nursing and Rehabilitation Center, LLC, Grandview

Medical Center, University of Alabama at Birmingham Hospital or University of Alabama Health

Services Foundation. The identity of these defendants as proper parties is unknown to the Plaintiff

at this time, and cannot be determined with reasonable certainty until further discovery is conducted.

       17.       Said fictitious party Defendants listed above in the caption of this Complaint and in

Paragraph numbers three (3) through fifteen (15) above are either unknown to the Plaintiff at this

time, or if they are known, their identity as proper party Defendants is not known, and they will be

substituted as proper parties by amendment when ascertained.


                                        Statement of the Facts

         18.     On or about June 23, 2017, Mrs. Cheryl Johnson was admitted to Defendant North

 Hill Nursing and Rehabilitation Center (“North Hill”) for the purpose of rehabilitation.

         19.     Upon admission, the North Hill records noted Mrs. Johnson was a fall risk and a

 pressure ulcer risk, and it was also noted that her skin was “irremarkable” with no red areas noted.

         20.     On July 2, 2017, Mrs. Johnson was complaining of knee pain, chest pain and burning

 on urination, and since the family was requesting a transfer, Mrs. Johnson was transferred to UAB.

         21.     On July 7, 2017, Mrs. Johnson was readmitted to North Hill, and upon readmission,

 she was noted to be incontinent of bowel and bladder.

         22.     On July 8, 2017, the nurses note she was alert with confusion, skin without redness
                                            DOCUMENT 2
          Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 9 of 23



or open areas, and incontinent bowel and bladder with incontinent care per staff every 2 hours and

as needed. Further, Mrs. Johnson was noted to require total assist with all activities of daily living.

          23.   On July 11, 2017, the nurse noted friction dermatitis on Mrs. Johnson’s sacrum and

a small open area to coccyx.

          24.   Again, on July 24, 2017, the nurse noted small open area to coccyx.

          25.   On August 1, 2017, there was no notation of the sacral or coccyx wound.

          26.   Again on August 8, 2017, the nurse noted small open area to coccyx.

          27.   On August 12, 2017, the nurse at North Hill noted Mrs. Johnson’s daughter was at

her bedside, and Mrs. Johnson was complaining of pain in her left foot. Her shoe was noted to be

tight, and it was removed. Upon removal, blood was noted to the sock on her left foot, and an open

area was noted between the 4th and 5th digits on her left foot.

          28.   On August 14, 2017, the buttocks wound was still noted, and despite her insulin,

Mrs. Johnson continued to have elevated blood sugar, but nothing was done to control her sugar

levels.

          29.   On August 17, 2017, the nurse noted that the family called nurses to the room to

look at Mrs. Johnson’s left foot due to foul odor and skin and nail sloughing off of toe. The

family insisted Mrs. Johnson be sent to UAB, and she was.

          30.   On August 18, 2017, Mrs. Johnson returned from the UAB ER, and the nurse

noted dressing to left foot post debridement of tissue left 4th and 5th toes as well as her

prescriptions for Keflex and Bctrim.

          31.   On August 19, 2017, wound treatments on sacrum and left toes noted.

          32.   On August 21, 2017, the nurse notes small open area to coccyx.

          33.   On August 22, 2017, more than thirty (30) days after Mrs. Johnson was first
                                          DOCUMENT 2
       Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 10 of 23



noted to have a wound, the nurses place a power air mattress on the bed.

       34.     On August 23, 2017, Mrs. Johnson’s foot is noted to have heavy serous exudate,

granulation tissue, and a fluid filled blister, and she is referred to specialty wound care as her

4th and 5th toes were noted to be very dark. This is the first time Mrs. Johnson is noted to be

referred to specialty wound care.

       35.     On August 30, 2017, the infection in Mrs. Johnson’s foot was noted to be

spreading to her 3rd toe and plantar foot, and further, a shear wound was noted to the sacrum

       36.     On September 1, 2017, a foul odor and discoloration is noted on Mrs. Johnson’s

left foot which had spread to her 2nd toe, and again a shear wound was noted on her sacrum.

       37.     Mrs. Johnson was sent to UAB again on September 1, 2017, and she was

readmitted to North Hill on September 5, 2017 with a diagnosis of dry gangrene of left foot with

necrotic digits 3-5. She was also noted to be a pressure ulcer risk on September 5, 2017.

       38.     On September 6, 2017, the nurse noted that Mrs. Johnson’s shear wound on her

sacrum had worsened and was now a stage 2 pressure wound.

       39.     On September 12, 2017, the nurse notes her toes are blackened with a foul odor

on the left foot. Additionally, the wound on the sacrum was still noted.

       40.     On September 15, 2017, per the family’s request, Mrs. Johnson was sent to

Grandview Medical Center, and she was admitted to ICU at Grandview.

       41.     On September 18, 2017, Mrs. Johnson’s left leg was amputated above the knee.

       42.     On September 29, 2017, Mrs. Johnson was discharged home with home health

through Defendant Amedisys.

       43.     Defendant Amedisys noted Mrs. Johnson’s sacral wound (coccyx stage II) upon

assessment on September 29, 2017.
                                              DOCUMENT 2
        Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 11 of 23




                                             COUNT ONE
                               NEGLIGENCE AND WANTONNESS


        44.      Plaintiff hereby restates, realleges and incorporates Paragraphs one (1) through

forty-three (43) above as if fully set forth herein.

        45.      Defendants North Hill Nursing and Rehabilitation Center, LLC, and Fictitious

Defendants A through MM, and their agents, servants, and/or employees acted negligently,

wantonly, and/or recklessly and breached the appropriate standards of care for such a nursing and

rehabilitation center by failing to use that degree of care, skill, and diligence used by such facilities

generally in the community in at least the following respects:

                 a)      Failing to maintain complete and accurate medical records;

                 b)      Failing to prevent the toe wounds;

                 c)      Causing the toe wounds due to use of too tight of shoes;

                 d)   Failing to monitor skin for areas of concern thereby leading to open
                 wounds;

                 e)    Failing to maintain appropriate wound care for toes to prevent infection
                 thereby leading to wet gangrene causing the need for above the knee amputation;

                 f)    Delaying the recognition of signs of infection causing delay in referral to
                 the ER for appropriate wound and diabetic and infection management;

                 g)    Failing to prevent the sacral shear wound that later progressed during
                 hospitalization; but for the shear wound, she may not have suffered further
                 opening of the wound;

                 h)      Causing the sacral shear wound by improper movement of Plaintiff;

                 i)      Failing to provide appropriate perineal care;

                 j)    Failing to prevent urinary tract infection as found on admission to
                 Grandview Medical Center which was septic with extremely elevated WBC
                 count and bacteria in the blood and urine;
                                 DOCUMENT 2
Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 12 of 23



      k)     Causing urinary tract infection as found on admission to Grandview
      Medical Center which was septic with extremely elevated WBC count and
      bacteria in the blood and urine;

      l)     Violating Administrative Board of Health Regulations for the Alabama
      State Board of Health, Nursing Facilities and Federal Regulations - Section 420-
      5-10-.08 (OBRA – 483.15) Facility must care for its residents in a manner to
      promote maintenance or enhancement of resident’s quality of life;

      m)     Mrs. Johnson required a 1-2 person assist with bed mobility, transfers, and
      activities of daily living. Defendant failed to provide such care to promote healthy
      skin maintenance as set forth in l. above and she developed a shear wound/friction
      dermatitis which occurs during transfers and brief changes;

      n)    Mrs. Johnson required assistance with dressing and placing on shoes;
      Defendant failed to appropriately provide care as set forth in l. above to prevent
      increased pressure on the feet/toes and notify all staff if there were issues of
      inappropriate fitting footwear given her known diagnosis of diabetes;

      o)     Violating Administrative Board of Health Regulations for the Alabama
      State Board of Health, Nursing Facilities and Federal Regulations - 450-5-10-
      .09(3) (OBRA – 483.20(b)(1)) Facility must make comprehensive assessment of
      resident’s needs… including assessment of skin conditions, chronic medical
      conditions….;

      p)     Defendant failed to perform (or produce records showing compliance of
      performing/documenting) a comprehensive resident assessment on admission to
      document baseline status of skin, function, diet, chronic conditions, etc. as outlined
      by the state and federal regulations in order to guide care. This must occur within
      14 calendar days after admission. There was no MDS or RAI produced upon a
      request of the complete records, and therefore, a comprehensive assessment of
      Mrs. Johnson’s needs was not met which led to her development of pressure sores,
      wounds and infection to such an extent that her leg had to be amputated all as a
      result of Defendant’s violation of those regulations listed in o. above;

      q)    Violating Administrative Board of Health Regulations for the Alabama
      State Board of Health, Nursing Facilities and Federal Regulations - 450-5-10-
      .09(10) (OBRA – 483.20(k)) Facility must develop comprehensive care plan for
      each resident;

      r)      There were documented Interdisciplinary Team Notes stating that the “Care
      Plan” was reviewed; however, this was not produced upon a request for the records
      in order for Plaintiff to review to ensure that Care Plans were in place for pressure
      ulcer prevention and then for appropriate treatment. The first report of a Care Plan
      meeting was not until 7/28/17, more than one month after admission into the
      facility, and as a result, no comprehensive care plan was followed with respect to
                                DOCUMENT 2
Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 13 of 23



      Mrs. Johnson, and thus, she developed sores, wounds and infection which
      progressed to such an extent that her leg had to be amputated all as a result of
      Defendant’s violation of those regulations listed in q. above;

      s)      Violating Administrative Board of Health Regulations for the Alabama
      State Board of Health, Nursing Facilities and Federal Regulations - 450-5-10-
      .10(4a) (OBRA – 483.25(c)(1)) Facility must ensure that a resident who enters the
      facility without pressure sores does not develop pressure sores unless the
      individual’s clinical condition demonstrates that they were unavoidable;

      t)    It is documented on admission that Mrs. Johnson had no skin care concerns;
      however, Defendant caused and/or allowed Mrs. Johnson to develop wounds to
      her sacrum and to the 4th and 5th digits of the left foot such that her leg had to
      eventually be amputated all as a result of Defendant’s violation of those
      regulations listed in s. above;

      u)    Violating Administrative Board of Health Regulations for the Alabama
      State Board of Health, Nursing Facilities and Federal Regulations - 450-5-10-
      .10(4b) (OBRA – 483.25(c)(2)) Facility must ensure that a resident having
      pressure sores receives necessary treatment and services to promote healing,
      prevent infection and prevent new sores from developing;

      v)     It is documented that the toe wounds grew in size, developed a foul odor,
      indicative of infection, and ultimately was diagnosed with wet gangrene requiring
      above the knee amputation all as a result of Defendant’s violation of those
      regulations listed in u. above;

      w)      Violating Administrative Board of Health Regulations for the Alabama
      State Board of Health, Nursing Facilities and Federal Regulations - 450-5-10-
      .10(5) (OBRA – 483.25(d)(2)) Facility must ensure that a resident who enters the
      facility incontinent of bladder receives appropriate treatment and services to
      prevent urinary tract infections;

      x)    Ms. Johnson was admitted to Grandview Medical Center 9/15/17 with an
      acute UTI and leukocytosis with positive urine and blood cultures which had
      developed at Defendant’s facility due to their failure to provide appropriate
      treatment as set forth in w. above;

      y)    Failing to monitor Mrs. Johnson for significant changes in her medical
      condition;

      z)    Failing to assess Mrs. Johnson’s skin to identify bruising/wounds or signs
      of adverse effects;

      aa) Failing to follow accepted nursing home administration procedures, nursing
      care standards and medical standards for the evaluation, assessment, monitoring and
                                           DOCUMENT 2
       Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 14 of 23



               treatment of Mrs. Johnson;

               bb) Failing to assess, evaluate, train and supervise or to adequately assess,
               evaluate, train and supervise registered nurses, licensed nurses, and nurses’ assistants
               in Defendants’ facility so as to assure that Mrs. Johnson received care in accordance
               with the nursing home’s policy and procedure manual, accepted standards of medical
               and clinical practice, and State and Federal laws;

               cc) Failing to provide proper training and in-service regarding ulcer/wound
               prevention, ulcer/wound identification, ulcer/wound treatment, and propercare
               planning;

               dd) Failing to insure resident care policies and procedures, specifically ones
               related to ulcers/wounds/infections, care planning, and monitoring for significant
               changes in condition, were followed;

               ee) Failing to provide, implement, and ensure that an adequate nursing care plan
               for Mrs. Johnson was prepared and followed by nursing personnel;

               ff)   Failing to provide sufficient numbers of nursing staff to monitor, assess and
               evaluate Mrs. Johnson; and

               gg) Failing to provide sufficient direct care staff to provide care and services to
               allow residents, including Mrs. Johnson, to attain or maintain the highest
               practicable physical, mental, and psychosocial well-being.

       46.     Defendants North Hill and Fictitious Defendants A through MM, and their

agents, servants, and/or employees negligently hired and retained staff that was not competent to

meet the total nursing care needs of Mrs. Johnson.

       47.     Defendants North Hill and Fictitious Defendants A through MM, and their agents,

servants, and/or employees failed to train and/or properly train nursing personnel at North Hill

Nursing and Rehabilitation Center in regard to assessment and monitoring.

       48.     Defendants North Hill and Fictitious Defendants A through MM, and their

agents, servants, and/or employees assigned personnel to give care to Mrs. Johnson who were

not competent or who were unfit to provide and/or incapable of providing adequate nursing

care to Mrs. Johnson.
                                            DOCUMENT 2
       Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 15 of 23



        49.     Defendants North Hill and Fictitious Defendants A through MM, and their agents,

servants, and/or employees failed to provide sufficient licensed and competent personnel to provide

all necessary medical and nursing care to Mrs. Johnson.

        50.     Defendants North Hill and Fictitious Defendants A through MM, and their agents,

servants, and/or employees breached their non-delegable duty to administer the facility in a

manner that enabled it to use resources effectively and efficiently to order to attain the highest

practicable physical, mental and psychosocial well-being of Mrs. Johnson.

        51.     Defendants North Hill and Fictitious Defendants A through MM, and their agents,

servants, and/or employees failed to perform services according to accepted standards of medical,

nursing and long-term care practice.

        52.     The foregoing acts and/or omissions of Defendants North Hill and Fictitious

Defendants A through MM, and their agents, servants, and/or employees while acting within the

line and scope of their duties for Defendants, occurred in direct violation of standards imposed by

Code of Alabama, 1975, § 22-21- 20, et. seq.; Alabama Administrative Rules, 1996 § 42-5-10,

et. seq. and generally accepted standards of medical and long-term nursing care practice.

        53.     As a direct and proximate result of such negligent, wanton, reckless and/or

intentional conduct, the Defendants caused Mrs. Johnson to suffer severe and permanent

personal injuries including the development of sacral wounds, foot/toe wounds, necrotic

tissues, infections and the loss of her leg above the knee.

        54.     All such acts and/or omissions of Defendants North Hill and Fictitious

Defendants A through MM’s agents, servants and/or employees were performed within the line

and scope of their duties for Defendants.

        WHEREFORE, Plaintiff demands judgment against the Defendants North Hill and
                                           DOCUMENT 2
          Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 16 of 23



Fictitious Defendants A through MM jointly and severally for compensatory and punitive

damages in an amount to be determined by the jury, plus costs.


                               COUNT TWO
                BREACH OF CONTRACT AND MISREPRESENTATION

          55.   Plaintiff re-alleges and incorporates paragraphs 1 through 54, as if fully set out

herein.

          56.   Defendants North Hill and Fictitious Defendants A through MM, agreed to

provide nursing and rehabilitation care to Mrs. Johnson and her family.

          57.   Pursuant to said agreement, Defendants North Hill and Fictitious Defendants A

through MM agreed to provide nursing and rehabilitation services to Mrs. Johnson in a quality

manner which would maintain her dignity and health.

          58.   Further, Defendants North Hill and Fictitious Defendants A through MM agreed

that they would provide competent and appropriate staff to meet the needs of Mrs. Johnson

and her family with respect to nursing care and rehabilitation.

          59.   Defendants North Hill and Fictitious Defendants A through MM also represented

to Mrs. Johnson and her family that they had sufficient staff in order to provide the proper

nursing and rehabilitation care required by Mrs. Johnson in light of her healthcare needs.

          60.   Defendants North Hill and Fictitious Defendants A through MM represented to

Mrs. Johnson and her family that their employees were properly trained to care for Mrs. Johnson

and meet her nursing and rehabilitation needs.

          61.   Defendants North Hill and Fictitious Defendants A through MM represented to

Mrs. Johnson and her family that their staff would abide by and adhere to State and Federal

nursing and rehabilitation regulations.

          62.   Mrs. Johnson and her family relied upon said representations and agreed to put
                                             DOCUMENT 2
         Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 17 of 23



 their trust in Defendants North Hill and Fictitious Defendants A through MM by agreeing to

 place Mrs. Johnson in their facility.

         63.      Defendants North Hill and Fictitious Defendants A through MM breached their

 agreement with Mrs. Johnson by failing to provide sufficient staff, by failing to provide proper

 nursing and rehabilitation services to Mrs. Johnson, by failing to adhere to State and Federal

 regulations as listed in Count One above, and by failing to properly train their staff.

         64.      Further, Defendants North Hill and Fictitious Defendants A through MM knew,

 should have known, or could have known with the exercise of reasonable care that they did not

 have sufficient staff, that they could not provide proper nursing and rehabilitation care to Mrs.

 Johnson, that they would not adhere to State and Federal regulations as listed above in Count

 One, and that they had not properly trained their staff.

         65.      As a direct and proximate result of such breach of contract and

 misrepresentations, the Defendants caused Mrs. Johnson to suffer severe and permanent

 personal injuries including the development of sacral wounds, foot/toe wounds, necrotic

 tissues, infections and the loss of her leg above the knee.

         66.      All such acts and/or omissions of Defendants North Hill and Fictitious

 Defendants A through MM’s agents, servants and/or employees were performed within the line

 and scope of their duties for Defendants.

         WHEREFORE, Plaintiff demands judgment against the Defendants North Hill and Fictitious

Defendants A through MM jointly and severally for compensatory and punitive damages in an amount to

be determined by the jury, plus costs.

                                                            /s/ Jon E. Lewis
                                                            Attorney for Plaintiff
                                      DOCUMENT 2
       Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 18 of 23



                                                 /s/ Daniel B. Feldman
                                                 Attorney for Plaintiff




OF COUNSEL:

LEWIS & FELDMAN, LLC
2112 11th Avenue South
Suite 542
Birmingham, Alabama 35205
(205) 254-6060
jon@LewisAndFeldman.com




                                    JURY DEMAND

          PLAINTIFF HEREBY DEMANDS TRIAL BY JURY ON ALL COUNTS.




                                                 /s/ Jon E. Lewis
                                                 Attorney for Plaintiff


Defendant can be served by certified mail as follows:

North Hill Nursing and Rehabilitation Center,
LLC c/o Richard H. Gill
444 S. Perry Street
Montgomery, Alabama
36104
            Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 19 of 23


                                       AlaFile E-Notice




                                                                          01-CV-2018-903069.00


To: JON ETHAN LEWIS
    jon@LFLattorneys.com




                    NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

          CHERYL JOHNSON V. NORTH HILL NURSING AND REHABILITATION CENTER, LLC
                                 01-CV-2018-903069.00

                       The following complaint was FILED on 8/3/2018 6:19:44 PM




     Notice Date:    8/3/2018 6:19:44 PM




                                                                           ANNE-MARIE ADAMS
                                                                        CIRCUIT COURT CLERK
                                                                JEFFERSON COUNTY, ALABAMA
                                                                JEFFERSON COUNTY, ALABAMA
                                                             716 N. RICHARD ARRINGTON BLVD.
                                                                        BIRMINGHAM, AL, 35203

                                                                                  205-325-5355
                                                                  anne-marie.adams@alacourt.gov
           Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 20 of 23


                                      AlaFile E-Notice




                                                                         01-CV-2018-903069.00


To: NORTH HILL NURSING AND REHABILITATION CENTER, LLC
    444 S. PERRY STREET
    MONTGOMERY, AL, 36104




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

         CHERYL JOHNSON V. NORTH HILL NURSING AND REHABILITATION CENTER, LLC
                                01-CV-2018-903069.00

                      The following complaint was FILED on 8/3/2018 6:19:44 PM




    Notice Date:    8/3/2018 6:19:44 PM




                                                                          ANNE-MARIE ADAMS
                                                                       CIRCUIT COURT CLERK
                                                               JEFFERSON COUNTY, ALABAMA
                                                               JEFFERSON COUNTY, ALABAMA
                                                            716 N. RICHARD ARRINGTON BLVD.
                                                                       BIRMINGHAM, AL, 35203

                                                                                 205-325-5355
                                                                 anne-marie.adams@alacourt.gov
                   Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 21 of 23
State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                      01-CV-2018-903069.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                           IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                   CHERYL JOHNSON V. NORTH HILL NURSING AND REHABILITATION CENTER, LLC
  NOTICE TO:        NORTH HILL NURSING AND REHABILITATION CENTER, LLC, 444 S. PERRY STREET, MONTGOMERY, AL 36104

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  JON ETHAN LEWIS                                                                                ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2112 11th Avenue South, Suite 542, BIRMINGHAM, AL 35205                                                           .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of CHERYL JOHNSON
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

           8/3/2018 6:19:44 PM                            /s/ ANNE-MARIE ADAMS              By:
                      (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                         /s/ JON ETHAN LEWIS
                                                                 (Plaintiff's/Attorney's Signature)


                                                    RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                          (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                      (Name of Person Served)                                                   (Name of County)

  Alabama on                                               .
                                   (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                               (Phone Number of Server)
                                                  DOCUMENT 55
                                                  DOCUMENT

                   Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 22 of 23
      V
   $      "iNNKM
  &
 £/ £         1 k >&                    NOTICE TO CLERK
      mt                        REQUIREMENTS FOR COMPLETING SERVICE BY
           OuStM                   CERTIFIED MAIL OR FIRST CLASS MAIL




                           IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                   CHERYL JOHNSON V. NORTH HILL NURSING AND REHABILITATION CENTER, LLC


                                                                                01 -CV-20 18-903069.00

To:   CLERK BIRMINGHAM
      clerk.birmiirigham@alacourt.gov




TOTAL POSTAGE PAID: $7.83


Parties to be served by Certified Mail - Return Receipt Requested
NORTH HILL NURSing AND REgHABlLN'AYIbk dENTE                                    Postage: $7.83
                                                        R, LLC |
444 S, PERRY STREET
MONTGOMERY, AL 36104




Parties to be served by Certified Mail - Restricted Delivery - Return Receipt Requested



Parties to be served by First Class Mail




                                                                                                         !
                                                                                          DOCUMENT 55
                                                                                          DOCUMENT

        Case 2:18-cv-01470-JEO Document 1-1 Filed 09/10/18 Page 23 of 23




                                              U.S. Postal Service™
                                ru
                                              CERTIFIED MAIL® RECEIPT
                                rr            Domestic Ate" On/y,
                                r-
                                m

                                 tr

                                 J
                                 m
                                   iCertliTed Mail Fob "
                                        [tj                             ,                          {j £iij cpprCiprkt^i
                                         ExtrSl Sfirvlces & Peso f'chuck hay,, add M
                                 O I LJ Pot'Jni Flccalpl {h^hdcofiv)                          £$                                       Postmark
                                 CD ] iZl Return FteDtiipi (Pladi'Or'K!)                                                                  H are
                                 CD j Q Cdifftecl Mall ReslHCfafJ nailvary $
                                 CD           "Cj ArJi.lt Qilgri^tui'o -l«ciuIrC-cJ           S
                                              CJAJTltajHnyliiift'fley^^JOsliufifV :&                   „...

                                  r-
                                  cr      $                                     .     .       „
                                  r=\         Total Patstaye and Fags
                                              $
                                  *J3
                                              Sent To
                                  r~]

                                  D
                                  r~
                                     lSifeeVs^W^r'pffmm
                                              \z%y;3teieYztF+4i" "'
                                                                                      jiEM.               E5S
                                               PS Form m




                                                                                                                                                                                      i


    i
                                                                                                                                                                                      )
!
                                                                                                                COMPLETE THIS SECTION ON DELIVERY
         SENDER: COMPLETE THIS SECTION
                                                                                                          | A. Signature
            Complete items 1 , 2, arid 3.
                                                                                                                                                                         Agent
            Print your name and address ort the reverse                                                         X                                                        Addressee
            so that we can return the card to you.
                                                                                                                B. Received by (Printed Name)                  C, Data of Delivery
            Attach this card to the back of the mailpiece,
            or on the front if space permits.
         1. Article Addressed to:                                                                               D, Is deiivety address different from item 1? P Yes
                                                                                                                     IfVFft «nMr rifiliuftrv nrtdrAfts, b§|ow;          Q NO

                NORTH HILL NURSING AND REHABILITATION CENTER, LLC
                444 S, PERRY STREET                                                                                                                                       0.
                MONTGOMERY, AL 36104


                                                                                                           3      Sorvlco T^p©                             Priority Mail Express®
                                                                                                                                                           Registered Man™

              9590940227056351902420                                                                      sass*™.™™-,                                   O Registered Mali Restricted
                                                                                                           S,Certlfl9d Mai®                                „       .
                                                                                                                                                                 vary      _
                  9590 9402 2705 6351 9024 20                                                                    Certified Mail Restricted Deflvery    ^ftetumFte^ptfor
                                                                                                                 Collect oi Delivery                                           -n-™
            AuiiMt*,   re. imhor /Transfer from service label)                                                   Collect on Delivery Restricted Delivery 0 Signature Corrflrmajton
                                                                                                              n Jrtdrtifrdrl Majl                          Signature Confirmation
                 TOlta 117D                          DDDQ                   M3h"=l 3712                                   I Mall Restricted Deiivety       Restricted Delivery
                                                                                                                          iom


        j PS Form 3811, July 2015 PSN 7530-02-000-9053                                                                                                 Domestic Return Receipt
                                                                                                                                                                                          )
